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             EXHIBIT 19
                     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 2 of 15


Roberts, Jeffrey S.

From:                                  Roberts, Jeffrey S.
Sent:                                  Friday, December 05, 2014 4:11 PM
To:                                    Lueptow, Jacqueline V (jlueptow@paulweiss.com ); cbenson@paulweiss.com
Cc:                                    Osborn, Kathy L.; Hurley, Ryan M.; Judge, Stephen M.
Subject:                               CRT Discovery Matters
Attachments:                           Proposed Stipulation on Thomson SA Personal Jurisdiction - Thomson SA
                                       revisions. DOCX




J a ci,

Please find attached our edits to the proposed stipulation. These edits reflect our agreement not to contest the Court’s
personal jurisdiction over Thomson SA for purposes of this action, but eliminate content that is either redundant or
extends beyond the personal jurisdiction issue the stipulation is intended to address. We also propose that the
Stipulation be expanded to include the Direct Purchaser Plaintiffs.

Best,

Jeff Roberts
Associate
jeff.roberts@FaegreBD.com
Direct: +1303 607 3792
Faegre      corn
FAEGRE BAKER DANIELS LLP
3200 Wells Fargo Center
1700 Lincoln Street
Denver, CO 80203-4532, USA



            From: "Lueptow, Jacqueline V’ <Ilueptow@paulweiss.com >
            Date: December 3, 2014 at 8:53:20 PM [ST
            To: "Benson, Craig A" <cbenson@paulweiss.com >, "Osborn, Kathy L." <Kathy. Osborn faegre bd. com>,
            "Pentelovitch, Norman H" <npentelovitch@paulweiss.com >, ’Gallo, Kenneth A"
            <kgallopaulweiss.com >, "Ball, David J’ <dball@paulweiss.com >, "Warren, Blaise"
            <bwarren@paulweiss.com >
            Subject: RE: CRT Discovery Matters

            Kathy,

            Attached is the draft language for a stipulation concerning Thomson SA’s waiver of personal jurisdiction
            in exchange for not producing documents solely related to Category 2.

            We look forward to your prompt response.

            Best regards,
            Jaci



            Jacqueline Lueptow I Associate - Admitted only in New York - *Not a member of the DC Bar. Supervised by a
            member of the DC Bar.
            Paul, Weiss, Rifkind, Wharton & Garrison LIP
         Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 3 of 15

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From: Benson, Craig A
Sent: Tuesday, December 02, 2014 4:33 PM
To: Osborn, Kathy L.; Pentelovitch, Norman H; Gallo, Kenneth A; Ball, David J; Warren, Blaise; Lueptow,
Jacqueline V
Subject: RE: CRT Discovery Matters

Kathy,

We received the letter you sent last Tuesday night. We had already emailed you that evening a set of
preliminary search terms and threads for you to consider. A week has now passed. Please let us know
what progress your team has made and when we can expect documents.

At the least, please produce to us by Friday the documents you have collected from the following
specific custodians you listed in your letter: Agnes Martin, Didier Trutt, Emeric Charamel, Christian
Lissorgues, Xavier Bonjour, and Christian Bozzi. If you have not already run search terms on those
documents, we are happy to have you produce to us all of their custodial documents, and we can
perform searches on our own. As we indicated, we are already bound by the clawback provision within
the Protective Order, which protects any documents that may be subject to privilege.

Finally, we will send you the draft language for a stipulation on personal jurisdiction shortly.

Best regards,
Craig Benson




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Sent: Tuesday, November 25, 2014 9:17 PM
To: Benson, Craig A; Pentelovitch, Norman H; Gallo, Kenneth A; Ball, David J; Warren, Blaise; Lueptow,
Jacqueline V
Subject: CRT Discovery Matters

Counsel,

Please see the attached letter regarding your inquiries.

Sincerely,
          Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 4 of 15

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immediately.
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 1   (Stipulating parties listed on signature page)

 2                                 UNITED STATES DISTRICT COURT
 3                              NORTHERN DISTRICT OF CALIFORNIA
 4
                                        SAN FRANCISCO DIVISION
 5

 6
     IN RE CATHODE RAY TUBE (CRT)                     No. 07-cv-5944-SC
 7   ANTITRUST LITIGATION,                            MDL No. 1917

 8
     This Document Relates to:                        STIPULATION AND [PROPOSED]
 9                                                    ORDER REGARDING PERSONAL
     Sharp Electronics Corp., et al. v. Hitachi       JURISDICTION OVER THOMSON SA
10   Ltd., etal.,No. 13-cv-1173;
11                                                    Judge: Hon. Samuel Conti
     Electro graph Systems, Inc. ci al. v.
12   Technicolor SA, et al., No. 13-cv-05724;

13   Siegel v. Technicolor SA, et al., No. 13-cv-
     0526 1;
14
     Best Buy Co., Inc., et al. v. Technicolor SA,
15
     ci al., No. 13-cv-05264;
16
     Target Corp. v. Technicolor SA, et al., No.
17   13-cv- 05686;

18   Jnterbond Corporation ofAmerica v.
     Technicolor SA, et al., No. 1 3-cv-05727;
19
20   Office Depot, Inc. v. Technicolor SA, ci al.,
     No. 13-cv-05726;
21
     Costco Wholesale Corporation v.
22   Technicolor SA, et al., No. 13-cv-05723;
23
     P. C. Richard & Son Long Island
24   Corporation, et al. v. Technicolor SA, ci al.,
     No. 13-cv-05725;
25
     Schultze Agency Services, LLC v.
26   Technicolor SA, Ltd., ci al., No. 13-cv-
27   05668;

28   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13-cv-05262;
     STIPULATION AND [PROPOSED] ORDER RE                               No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 6 of 15



 1
     Tech Data Corp., et al. v. Hitachi, Ltd., et
 2   al., No. 13-cv-00157;
 3
     ViewSonic Corporation v. Chunghwa
 4   Picture Tubes, Ltd., et al., 3:1 4cv-025 10.

 5   Crago, et al. v. Mitsubishi Electric Corp.,
     No. 14-cv02058.
 6
             Direct Action Plaintiffs Electrograph Systems, Inc.; Electrograph Technologies, Corp.;
 7
     Alfred H. Siegel (as trustee of the Circuit City Stores, Inc. Liquidating Trust); Best Buy Co., Inc.;
 8
     Best Buy Purchasing LLC; Best Buy Enterprise Services, Inc.; Best Buy Stores, L.P.;
 9
     BestBuy.com , L.L.C.; Magnolia Hi-Fi, Inc.; Interbond Corporation of America; Office Depot,
10
     Inc.; Costco Wholesale Corporation; P.C. Richard & Son Long Island Corporation; ABC
11
     Appliance, Inc.; MARTA Cooperative of America, Inc.; Schultze Agency Services, LLC, (on
12
     behalf of Tweeter Opco, LLC, and Tweeter Newco, LLC); Sears Roebuck and Co. and Kmart
13
     Corp.; and Target Corp.; Sharp Electronics Corporation and Sharp Electronics Manufacturing
14
     Company of America, Inc., (collectively, "Sharp"); Tech Data Corporation and Tech Data
15
     Product Management, Inc.; ViewSonic Corporation; (all collectively the "DAPs"), Crago, d/b/a
16
     Dash Computers, Inc.; Arch Electronics, Inc.; Meijer, Inc.; Meijer Distribution, Inc.; Nathan
17
     Muchnick, Inc.; Princeton Display Technologies, Inc.; Radio & TV Equipment, Inc.; Studio
18
     Soectrum. Inc.: and Wettstein and Sons. Inc.. d/b/a Wettsteins’s (collectively the "Direct
19
     Purchaser Plaintiffs" or "DPPs"), and Thomson S.A. (n.k.a. Technicolor S.A.) have conferred by
20
     and through their counsel and, subject to the Court’s approval, HEREBY STIPULATE AS
21
     FOLLOWS:
22
             WHEREAS, there is pending in the United States District Court for the Northern District
23
     of California a multidistrict consolidated proceeding comprised of actions brought on behalf of
24
     purported purchasers of cathode ray tubes ("CRT") and CRT products, captioned as                 In re:
25
     Cathode Ray Tube (CRT) Antitrust Litigation,      Case No. 3:07-cv-05944 SC (MDL No. 1917) (the
26
     "MDL Proceedings");
27
             WHEREAS, Sharp filed on March 15, 2013, a Complaint naming Thomson SA as a
28

     STIPULATION AND [PROPOSED] ORDER RE                                       No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 7 of 15



 1   Defendant (Dkt. No. 1, Case No. 3:13-cv-01173 SC), on October 28, 2013, a First Amended

 2   Complaint also naming Thomson SA as a Defendant (Dkt. No. 2030), and on April 2June 13,

 3 2014, a Second Amended Complaint also naming Thomson SA as a Defendant, now pending in

 4   this MDL (Dkt. No. 25202621);

 5          WHEREAS, the DAPs have filed Complaints or Amended Complaints, which are now

 6   pending in this MDL, naming Thomson SA as a Defendant;

 7          WHEREAS, the DPPs have filed an Amended Class Action Complaint, which is now

 8   pending in this MDL. naming Thomson SA as a Defendant (Case No. 14-cv-02058, Dkt. No. 34);

 9          WHEREAS, on July 3, 2013, Thomson SA filed a Notice of Motion and Motion to

10   Dismiss Sharp’s Complaint for Lack of Personal Jurisdiction (Dkt. No. 1765);

11          WHEREAS, on November 25, 2013, Thomson SA filed a Notice of Motion and Motion to

12   Dismiss Sharp’s First Amended Complaint (Dkt. No. 2235);

13          WHEREAS, on January 27, 2014, Thomson SA filed a Notice of Motion and Motion to

14   Dismiss the DAPs’ Complaints (Dkt. No. 2355);

15          WHEREAS, on February 7, 2014, Thomson SA filed a Notice of Motion and Motion to

16   Strike with Prejudice Tech Data’s First Amended Complaint (Dkt. No. 2373);

17          WHEREAS, on March 13, 2014, the Court issued an Order granting in part and denying

18   in part Thomson SA’s Motions to Dismiss Sharp’s First Amended Complaint and the DAPs’

19   Complaints or First Amended Complaints, finding that it has specific personal jurisdiction over

20 Thomson SA (Dkt. No. 2440);

21          WHEREAS, on March 28, 2014, the Court issued an Order granting in part and denying

22   in part Thomson SA’ Motion to Strike with Prejudice Tech Data’s First Amended Complaint,

23   dismissing Tech Data’s state-law claims but denying the motions with respect to its federal

24   claims, and finding that it has specific personal jurisdiction over Thomson SA (Dkt. No. 2507);

25          WHEREAS, on May 30, 2014, Thomson SA and the DPPs filed a stipulation preserving

26   any arguments for appellate purposes all motions raised in the MDL to date (Dkt. No. 2600), and

27   on June 12, 2014 the Court granted that stipulation (Dkt. No. 2616);

28          WHEREAS, on July 25, 2014, Thomson SA and ViewSonic Corporation filed a

     STIPULATION AND [PROPOSED] ORDER RE                                    No. 07-5944-SC; MDL No. 1917
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     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 8 of 15



     stipulation preserving any arguments for appellate purposes all motions raised in the MDL to date

 2   (Dkt. No. 2708), and on July 30, 2014 the Court granted that stipulation (Dkt. No. 2720);

 3          WHEREAS, Thomson SA has agreed that it will not contest personal jurisdictionas it

 4   relates to the above referenced matters on appeal ;

 5

 6   Court, in return for not having to produce documents solely related to personal jurisdiction in the

 7   United States (whether compelled through the Hague Evidence Convention in compliance with

 8   the French Blocking Statute or otherwise);

 9 NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel as

10   follows:

11       1.1.       Thomson SA has appeared in this action and agrees that it will not contest on

12          appeal this Court’s admits that this Court has personal jurisdiction over Thomson SA in

13          the United States for this action only;

14        :DAPs and DPPs agree that they will not seek the production of documents solely

15          related to personal jurisdiction in the United States whether compelled through the Hague

16          Evidence Convention in compliance with the French Blocking Statute or otherwise.

17

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19          United States;

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21          United States; and

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     STIPULATION AND [PROPOSED] ORDER RE                                     No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 9 of 15



 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2

 3   Dated:
                                                        Hon. Samuel Conti
 4                                                  United States District Judge
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     STIPULATION AND [PROPOSED] ORDER RE                     No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 10 of 15



 1
      Dated: December[], 2014               FAEGRE BAKER DANIELS LLP
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23

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     STIPULATION AND [PROPOSED] ORDER RE                            No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 11 of 15



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                                             Liaison Counsel for Direct Action Plaintiffs and
16                                           Tech Data

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                                            Joseph J. Simons (pro hac vice)
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     STIPULATION AND [PROPOSED] ORDER RE                             No. 07-5944-SC; MDL No, 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 12 of 15



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18                                         Best Buy Stores, L. P., BestBuy. com , L. L. C., and
                                           Magnolia Hi-Fi, LLC.
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     STIPULATION AND [PROPOSED] ORDER RE                            No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 13 of 15



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     STIPULATION AND [PROPOSED] ORDER RE                             No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 14 of 15




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 7                                         Tech Data Product Management

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                                           Counsel for Plaint iffAifred H Siegel, solely in his
23                                         capacity as Trustee of the Circuit City Stores, Inc.
                                           Liquidating Trust
24

25

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     STIPULATION AND [PROPOSED] ORDER RE                             No. 07-5944-SC; MDL No. 1917
     TIIOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-19 Filed 12/18/14 Page 15 of 15



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                                                  Counsel for Target Corp. and ViewSonic Corp
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                                                 /s/ Richard Arnold
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18                                                Counsel for Plaintiff Sears, Roebuck and Co. and
                                                  Kmart Corp.
19

20

21           Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
22    document has been obtained from each of the above signatories.
23

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     STIPULATION AND [PROPOSED] ORDER RE                                   No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
